                                                          1   DEAN S. KRISTY (CSB No. 157646)
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                                                          6   Attorneys for Defendants
                                                              Tesla, Inc. and Elon Musk
                                                          7

                                                          8                                UNITED STATES DISTRICT COURT
                                                          9                               NORTHERN DISTRICT OF CALIFORNIA
                                                         10                                    SAN FRANCISCO DIVISION
                                                         11

                                                         12                                                 Case No.: 3:18-cv-04865-EMC
F ENWICK & W ES T LLP
                        LAW




                                                         13                                                 DECLARATION OF DEAN S. KRISTY
                                      SAN FRA NCI S CO
                         AT




                                                                                                            IN OPPOSITION TO LEAD
                        ATTO RNEY S




                                                         14                                                 PLAINTIFF’S MOTION TO LIFT THE
                                                                                                            DISCOVERY STAY TO ISSUE NON-
                                                         15                                                 PARTY SUBPOENAS
                                                              IN RE TESLA, INC. SECURITIES
                                                         16   LITIGATION                                    Date:    January 24, 2019
                                                                                                            Time:    1:30 p.m.
                                                         17                                                 Dept.:   Courtroom 5, 17th Floor
                                                                                                            Judge:   Hon. Edward M. Chen
                                                         18

                                                         19                                                  Date Action Filed: August 10, 2018

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                                                               DECL. OF D. KRISTY IN
                                                               OPP’N TO PLTF.’S MOT. TO LIFT                                 Case No.: 3:18-CV-04865-EMC
                                                               DISCOVERY STAY TO ISSUE
                                                               NON-PARTY SUBPOENAS
                                                         1          I, Dean S. Kristy, hereby declare:

                                                         2          1.      I am an attorney admitted to practice before this Court and a partner at the law

                                                         3   firm of Fenwick & West LLP which represents defendants Tesla, Inc. (“Tesla”) and Elon Musk

                                                         4   (collectively, “defendants”) in this action. I have personal knowledge of the matters set forth in

                                                         5   this declaration and, if called upon to do so, could and would testify competently as to the matters

                                                         6   described below.

                                                         7          2.      Attached as Exhibit 1 is a true and correct copy of my December 13, 2018 letter to

                                                         8   Adam M. Apton and Adam C. McCall, counsel for lead plaintiff in this action.

                                                         9          3.      Attached as Exhibit 2 is a true and correct copy of counsel for lead plaintiff’s
                                                        10   December 14, 2018 letter in response to my December 13, 2018 letter.

                                                        11          4.      Attached as Exhibit 3 is a true and correct copy of a New York Post, Page Six

                                                        12   December 18, 2018 article, entitled “Did Azealia Banks offer Twitter CEO Jack Dorsey
F ENWICK & W ES T LLP
                        LAW




                                                        13   Protection from ISIS?” (Available at: https://pagesix.com/2018/12/18/did-azealia-banks-offer-
                                      SAN FRA NCI SCO
                          AT
                        ATTO RNEY S




                                                        14   twitter-ceo-jack-dorsey-protection-from-isis/).

                                                        15          I declare under penalty of perjury under the laws of the United States of America that the

                                                        16   foregoing is true and correct and was executed at San Francisco, California on January 3, 2019.

                                                        17   Dated: January 3, 2019                        FENWICK & WEST LLP

                                                        18                                                 By: /s/      Dean S. Kristy
                                                                                                                         Dean S. Kristy
                                                        19
                                                                                                              555 California Street, 12th Floor
                                                        20                                                    San Francisco, California 94104
                                                                                                              Telephone: (415) 875-2300
                                                        21                                                    Facsimile: (415) 281-1350
                                                                                                           Attorneys for Defendants Tesla, Inc. and Elon Musk
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                                                              DECL. OF D. KRISTY IN
                                                              OPP’N TO PLTF.’S MOT. TO LIFT                    1                    Case No.: 3:18-CV-04865-EMC
                                                              DISCOVERY STAY TO ISSUE
                                                              NON-PARTY SUBPOENAS
EXHIBIT 1
EXHIBIT 2
LEVI&KORSINSKY LLP                                                       44 Montgomery Street, Ste. 650
                                                                         San Francisco, CA 94104
                                                                         Tel : 415-373-1671
                                                                         Fax : 415-484-1294
                                                                         www.zlk.com

                                                                         Adam M. Apton
                                                                         aapton@zlk.com

                                                         December 14, 2018

VIA ELECTRONIC MAIL
Dean S. Kristy
555 California Street, 12th Floor
San Francisco, California 94104
E: dkristy@fenwick.com

               Re:    In re Tesla Inc. Securities Litigation
                      Docket No. 3:18-cv-04865-EMC (N.D. Cal.)

Dear Mr. Kristy:

        Plaintiff did not violate any local rules or standing orders by filing the motion for
leave to serve preservation subpoenas. The motion involves the interests of non-parties, and
not Defendants, and requires only the preservation of documents and other materials. The
subpoenas do not place any burden upon Defendants or interfere with their defense in this
action. If a deposition is ever noticed, we will of course meet and confer with you as
required by Local Rule 30-1.

      Concerning the opposition to the motion, Plaintiff is willing to accommodate
Defendants by granting a reasonable extension of time to respond to the motion. Please
suggest a date or circulate a stipulation with a proposed briefing schedule.


                                                         Sincerely,


                                                         _________________________
                                                         Adam M. Apton
EXHIBIT 3
1/3/2019                                             Jack Dorsey sent Azealia Banks beard shavings for protection




                                                                              Born Before 1964? Claim These 17
                                                                                    Senior Rebates Now




  Did Azealia Banks offer Twitter CEO Jack Dorsey
  protection from ISIS?
  By Derrick Bryson Taylor                                                                                               December 18, 2018 | 11:40am




  Azealia Banks and Jack Dorsey
  Getty Images


  Jack Dorsey and Azealia Banks had an unusual business arrangement.



https://pagesix.com/2018/12/18/did-azealia-banks-offer-twitter-ceo-jack-dorsey-protection-from-isis/?utm_campaign=applenews&utm_medium=inline&…   1/2
1/3/2019                                             Jack Dorsey sent Azealia Banks beard shavings for protection

  Nick Bilton dropped an unusual gem in his Vanity Fair recent story about the 42-year-old Twitter CEO. Bilton adds he often receives bizarre
  gossip and scoops about Dorsey and added, “Once, a source who worked with him told me that Dorsey had sent a rapper his beard
  shavings to make him an amulet that would protect him from evildoers.”

  While the 27-year-old rapper’s name wasn’t given, all signs point to Banks who talked about it at length years ago.

  In 2016, according to Stereogum, she went on a Twitter spree crying foul over a business agreement she had with Dorsey.

  Dorsey allegedly asked Banks to tweet about his cash app, Square, and in exchange, he would promote her mixtape, “Slay-Z.” Banks
  seemingly held up her end of the bargain, while Dorsey didn’t deliver.

  But there was more.

  “He also sent me his hair in an envelope because I was supposed to make him an amulet for protection,” she said in since-deleted tweets.
  “I’m about to hex this n—a. I have 3 strands of a billionaire’s hair. I should steal his luck.”

  The protection was from ISIS, who threatened Dorsey along with Mark Zuckerberg earlier that year.

  It’s unclear what happened to the beard clippings or if Banks ever used them for any purpose.

  Dorsey’s rep had no comment.


  FILED UNDER   AZEALIA BANKS, CELEBRITY WTF, JACK DORSEY



                                                                                                                        Recommended by




                                                                                 New Rule in Mountain View, CA
                                                                                    Leaves Drivers Fuming




https://pagesix.com/2018/12/18/did-azealia-banks-offer-twitter-ceo-jack-dorsey-protection-from-isis/?utm_campaign=applenews&utm_medium=inline&…   2/2
